          Case 1:22-cr-00354-RCL Document 79 Filed 11/01/23 Page 1 of 4



IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
COLUMBIA


                                               Criminal No.: 1: 22-cr-00354-RCL-1
  UNITED STATES OF AMERICA,                    and 2
  -v-
  RICHARD SLAUGHTER, and                       DEFENDANTS REPLY TO
  CADEN GOTTFRIED,                             UNITED STATES ’RESPONSE IN
  Defendants.                                  OPPOSITION TO DEFENDANT'S
                                               MOTION IN LIMINE TO
                                               PRECLUDE USE OF AERIAL
                                               PHOTOGRAPHY




DEFENDANTS’ REPLY TO UNITED STATES ’RESPONSE IN
OPPOSITION TO DEFENDANT'S MOTION IN LIMINE TO PRECLUDE
USE OF AERIAL PHOTOGRAPH

      COMES NOW, the Defendants Slaughter and Gottfried, by and through his

counsel of record John Pierce, with this reply to “United States’ Response in

Opposition to Defendants’ Motion in Limine to Preclude Use of Aerial Photograph”

(“the Response”), Doc. 73. In their response Untied States seek to include a

photograph that provides an aerial view of the Capitol grounds, that has been altered

with a superimposed red line demarcating the restricted perimeter that was

established on January 6, 2021.

      This red-line demonstrative illustration is not an official record demarcating

actual, truly restricted areas around the Capitol. The illustration was created for

January 6 prosecutions after the facts of Jan. 6.
           Case 1:22-cr-00354-RCL Document 79 Filed 11/01/23 Page 2 of 4



      “Evidence is admissible if the proponent can “produce evidence

sufficient to support afinding that the item is what the proponent claims it is.”

Fed. R. Ev. 901(a); United States v. Khatallah, 41 F.4th 608, 623 (D.C. Cir.

2022) (showing is sufficient if it permits a reasonable juror to find the evidence is

what its proponent claims) (internal quotation omitted).

      In many January 6 trials, the government produces a Capitol Police officer

witness who takes the stand and claims—without any laws, bylaws, supportive

evidence of process, supportive evidence of votes, regulations, or other written

support—that the conceptually-generated red line is representative of an actual

perimeter of “restrictedness” on January 6. There is much available evidence that the

red line does not designate actual barriers or fencing over much of its area on January

6, 2021.

           The Red Line Illustration is Confusing, Misleading, and overly
                                   prejudicial.
      The government’s use of the red line image is designed to instill in the jurors’

minds that the red line represents boundaries in place on January 6. Defendants

submit that the government’s notions of restricted boundaries are more appropriately

established by a witness on the stand testifiying about actual, unaltered, images of the

setting. The fake red-line artwork will give off the appearance that (1) restriction to

enter were hugely posted, and were common knowledge known to everyone (2) that

these alleged restrictions were known to the defendant; and (3) that these restrictions

to this area were in effect during the time in question.
         Case 1:22-cr-00354-RCL Document 79 Filed 11/01/23 Page 3 of 4



      Furthermore the illustration of red, closely associated with stop and

restrictions, which then gives off the appearance of something that would be obvious.

All three of these appearances are indeed integral parts of the United State’s case

against the defendant. Allowing this altered photo would give off an undue bias that

is unjust and can be seamlessly replaced with an unaltered-aerial photo. The United

States have no argument that this alteration of the photograph is necessary to still be

a summary exhibit as they intended. We urge the court to Grant our Motion of

Limine to preclude the use of the altered aerial photographs as it would cause an

unfair prejudice.


Dated: November 1, 2023


                                                 Respectfully Submitted,
                                                 /s/ John M. Pierce John M. Pierce
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                                                 Attorney for Defendants
         Case 1:22-cr-00354-RCL Document 79 Filed 11/01/23 Page 4 of 4



CERTIFICATE OF SERVICE


I, John M. Pierce, hereby certify that on this day, November 1, 2023, I caused a copy
of the foregoing document to be served on all counsel through the Court’s CM/ECF
case filing system.


/s/ John M. Pierce John M. Pierce
